






NO. 07-00-0385-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



OCTOBER 18, 2000



______________________________




ALEX PLASENCIO, JR., APPELLANT



V.



THE STATE OF TEXAS, APPELLEE




_________________________________



FROM THE 242ND DISTRICT COURT OF HALE COUNTY;



NO. B13641-0002; HONORABLE ED SELF, JUDGE



_______________________________



Before BOYD, C.J., and REAVIS and JOHNSON, JJ.

ORDER


	After this Court abated and remanded this appeal on September 28, 2000, Jerry K.
Bratcher, Official Court Reporter for the 242nd District Court of Hale County, filed a motion
for extension of time to file the reporter's record.  By order of this Court dated October 13,
2000, the motion was granted and the time in which to file the reporter's record was
extended until January 12, 2001.  However, pending the abatement period, we were
without jurisdiction to take any action in this appeal, and thus, our order of October 13,
2000 granting the motion for extension of time is void and of no effect.  Please take due
notice that until the appeal is reinstated, this Court cannot take any further action.

	It is so ordered.

								Per Curiam









Do not publish.



if"&gt;IN THE COURT OF APPEALS

FOR THE SEVENTH DISTRICT OF TEXAS

AT AMARILLO

PANEL C

NOVEMBER 6, 2009

______________________________


MICHAEL R. MARTINEZ, APPELLANT

V.

THE STATE OF TEXAS, APPELLEE

_________________________________

FROM THE 364TH DISTRICT COURT OF LUBBOCK COUNTY;

NO. 2005-409,347; HONORABLE BRADLEY S. UNDERWOOD, JUDGE

_______________________________

Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.
ABATEMENT AND REMAND
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to a guilty plea, in March 2006, Appellant, Michael R. Martinez, was
granted deferred adjudication for the offense of aggravated assault and placed on
community supervision for eight years.  On July 24, 2007, the State filed a Motion to
Proceed with Adjudication of Guilt alleging numerous violations of the terms and conditions
of community supervision.  According to the judgment contained in the clerk’s record,
Appellant entered a plea of true to the State’s allegations.  Following a hearing on the
State’s motion,


 the trial court found that Appellant had violated the terms and conditions
of community supervision and adjudicated him guilty of the charged offense and sentenced
him to twenty years confinement.  The clerk’s record and reporter’s record have both been
filed.  A review of the reporter’s record of the revocation hearing reflects that Appellant
actually entered a plea of not true.    
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Additionally, Appellant was previously granted an extension of time in which to file
his brief to October 5, 2009.  The brief was not filed.  By letter dated October 13, 2009, this
Court notified Appellant’s counsel, Jesse Mendez, of the defect and explained that failure
to file the brief on or before October 23, 2009, would result in the appeal being abated and
the cause remanded to the trial court for further proceedings.   Counsel did not respond
to this Court’s notice and Appellant’s brief has not been filed. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Therefore, we now abate this appeal and remand the cause to the trial court for
further proceedings.  Upon remand, the trial court is directed to (1) modify the Judgment
Adjudicating Guilt to correctly reflect Appellant’s plea of not true to the motion to adjudicate
and cause the corrected judgment to be filed in a supplemental clerk’s record as provided
hereinbelow, and (2) determine why counsel has failed to timely file Appellant’s brief and
take such action as is necessary to ensure that the brief is filed with the Clerk of this Court
on or before December 7, 2009.  Upon filing of Appellant’s brief, counsel is ordered to
notify the trial court, in writing, of the filing.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Should counsel timely file the brief, the trial court need not take any further action
other than to cause a supplemental clerk’s record containing the corrected judgment to be
filed with this Court by December 14, 2009.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Should counsel not timely file Appellant’s brief, pursuant to Rule 38.8(b)(2) and (3)
of the Texas Rules of Appellate Procedure, the trial court is directed to utilize whatever
means necessary (which may include an evidentiary hearing) to determine the following: 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;1.  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;whether Appellant desires to prosecute the appeal;
2.whether Appellant’s counsel has effectively abandoned the appeal
given his failure to timely file the brief;
3.whether Appellant has been denied effective assistance of counsel;
4.whether counsel for Appellant should be removed; and
5.whether Appellant is indigent and entitled to new appointed counsel.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Should it be determined that Appellant is entitled to new appointed counsel or has
retained new counsel, the name, address, telephone number, and state bar number of the
newly-appointed or newly-retained counsel shall be provided to the Clerk of this Court. 
Finally, the trial court shall execute findings of fact and conclusions of law regarding the
aforementioned issues and cause its corrected judgment, findings, conclusions, and any
other orders entered, to be included in a supplemental clerk's record to be filed with this
Court by December 28, 2009.  Should further time be necessary for the trial court to
perform these tasks, a request for extension must be filed before December 28, 2009.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;It is so ordered.
Per Curiam
&nbsp;
&nbsp;
&nbsp;
Do not publish.


